             Case 1:18-cr-00146-TJM Document 30 Filed 08/06/19 Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA                           )    Criminal No.        1:18-CR-146 (TJM)
                                                       )
                  v.                                   )
                                                       )
    WILLIAM MORRISON,                                  )
                                                       )
                                                       )
                  Defendant.                           )

           SENTENCING MEMORANDUM OF THE UNITED STATES OF AMERICA

     I.       INTRODUCTION AND FACTUAL BACKGROUND

           The United States of America (“United States”) hereby files its sentencing memorandum

requesting that the Court impose a sentence of 150 months, which is at the top of the United States

Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) advisory range. The United States adopts the

facts and calculations set forth in the Presentence Investigation Report (“PSIR”), see Dkt. No. 29,

prepared in this matter by the United States Probation Office (“Probation Office”).

     II.      APPLICABLE STATUTORY AND GUIDELINES PROVISIONS

               a. Statutory Provisions

           The defendant’s conviction under Count One of the Information, in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A), and 846, subjects him to a maximum term of imprisonment of life, a

minimum term of imprisonment of ten years, a fine of up to $10,000,000, and a term of supervised

release of at least five years and up to life.1




1
 The Enhanced Penalty Motion in this case was dismissed as a result of the First Step Act. See Dkt. Nos. 19, 21. As
a result, the mandatory minimum term of imprisonment was reduced from twenty to ten years.
            Case 1:18-cr-00146-TJM Document 30 Filed 08/06/19 Page 2 of 4




              b. Guidelines Provisions

          The United States agrees with the calculations in the PSIR resulting in a base offense level

of 30, pursuant to U.S.S.G. § 2D1.1(c)(5). See PSIR ¶ 28. After a three-level reduction for timely

acceptance for responsibility, the offense level is reduced to 27. See PSIR ¶ 37. Based on the

defendant’s criminal history category of V, see infra, the corresponding range is 120 to 150

months. See PSIR ¶ 81.

              c. Criminal History Category

          According to the PSIR, the defendant’s criminal history category is V. See PSIR ¶ 52. The

United States agrees with the Probation Office’s determination of the defendant’s criminal history

category under the Guidelines.

   III.      SENTENCING RECOMMENDATION

          Based on all of the information before the Court, the United States respectfully requests

that the Court sentence the defendant to a term of imprisonment of 150 months and supervised

release of ten years. The defendant was an integral member of a violent drug trafficking

organization that distributed large quantities of crack cocaine. That organization was involved in

a series of high-profile shootings, in Hudson, New York that terrorized local citizens and

businesses over the course of several months. Because of that violence, two young toddlers were

shot, a man was killed, and numerous others injured. The defendant was at the heart of that

violence; in 2017, he was shot in in his buttocks during a drug-related shootout. See PSIR ¶ 47.

          The defendant’s criminal history, and behavior in this case, demonstrates that he is, at

bottom, an unrepentant violent armed criminal and drug dealer with no interest in leading a law-

abiding life or respect for the safety of those around him. In 2009, for example, after threatening



                                                   2
          Case 1:18-cr-00146-TJM Document 30 Filed 08/06/19 Page 3 of 4




a victim with a handgun, the defendant tried to flee from police officers called to the scene,

resulting in a dangerous, high-speed car chase throughout Hudson, New York that jeopardized the

lives of police and innocents. The defendant ultimately crashed into a police car before he was

apprehended (incidentally, with drugs). In 2010, in a cowardly act of violence, the defendant hit

a man in the back of a head with a beer bottle—breaking the bottle and causing serious

lacerations—and punched the man in the face, while the defendant’s accomplice restrained the

victim so he could not defend himself. See PSIR ¶ 54. More recently, in 2017—while on

supervised release for a federal drug crime—the defendant got into a physical altercation, outside

a strip club, with police officers in New York City. During the course of that struggle, which

involved the defendant punching and kicking police officers while resisting arrest, the defendant

dropped the stolen, fully-loaded nine-millimeter handgun he was trying to bring into strip club.

See PSIR ¶ 47. In addition to all of this shockingly bad conduct, the defendant is an absentee

father, a habitual drug user, a drunk, and general community menace, who routinely drives drunk,

drives without a license, ignores child support orders, and flouts police instruction, probation

officers, and court orders. A sentence at the top of the Guidelines is, in this case, necessary to

comply with the sentencing purposes set forth in 18 U.S.C. § 3553(a)(2).

       “[I]n the ordinary case, the Commission’s recommendation of a sentencing range will

‘reflect a rough approximation of sentences that might achieve § 3553(a)’s objectives.’”

Kimbrough v. United States, 552 U.S. 85, 89 (2007); see, e.g., Gall v. United States, 552 U.S. 38,

46 (2007) (Guidelines are “the product of careful study based on extensive empirical evidence

derived from the review of thousands of individual sentencing decisions”). Moreover, within-




                                                3
          Case 1:18-cr-00146-TJM Document 30 Filed 08/06/19 Page 4 of 4




guidelines sentences promote Congress’s goal in enacting the Sentencing Reform Act “to diminish

unwarranted sentencing disparity.” Rita v. United States, 551 U.S. 338, 354 (2007).

       Based on all of the information before the Court, the United States respectfully requests

that the Court impose a sentence of 150 months. Under the facts present here, such a sentence will

be sufficient, but not greater than necessary to comply with the sentencing purposes in 18 U.S.C.

§ 3553(a)(2).

       Respectfully submitted this 6th day of August, 2019.


                                                 GRANT C. JAQUITH
                                                 United States Attorney


                                         By:
                                                 Wayne A. Myers
                                                 Assistant United States Attorney
                                                 Bar Roll No. 517962




                                                4
